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                      Exhibit 31
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                 The Money Trail: March 27, 2002 – Park Hotel Bombing
                          12 Arab Bank Transfers to Qassam Brigades Operatives
                             Involved in the Bombing – All Before the Bombing
                             sends a check for
                                                                                                               Saudi Committee
                                $10,000                                                                       Sends 3 Payments
                            to Yousef al-Hayek
                                                                                                            Through Arab Bank to:
                              Arab Bank Beirut
                               (Dec 18, 2000)
  Osama Hamdan                                          Yousef al-Hayek                                           Muhanad Taher
   Role in the attack:                                                                                            $2,655.78 (Jan 8, 2001)
Acknowledged the attack                                                                                           Role in the attack:
    on CNN on the                                                                                                 Bomb-maker
   day of the attack                                sends 9 funds transfers
       From Abbas al-Sayed’s                           for a total of $123,000
        Police Interrogation                         to Abbas al-Sayed through                                    Muhanad Sharim
                                                         Arab Bank New York                                       $1,325.64 (Apr 4, 2001)
                                                     (Feb 15, 2001 - May 11, 2001)
                                                                                                                  Role in the attack:
 • The funds used to purchase
                                                                                                                  Provided logistical support
   weapons were received via bank
   transfers to his personal bank
   account at Arab Bank in                                                                                        Nasser Yataima
   Tulkarem.                                                                                                      $1,325.64 (Apr 4, 2001)
                                                                                                                  Role in the attack:
 • The funds were sent from America                                                                               Helped transport explosives
                                                        Abbas al-Sayed
   to another of his bank accounts in
                                                        Role in the attack:
   U.S. dollars in coordination with             Planned and supervised the attack
                                                                                             PX1990, PX1991, PX1992, PX1993, PX1994, PX1995, PX1996,
                                                                                             PX1997, PX1998, PX710, PX614, PX615, PX90
   leaders of HAMAS in Syria.                                                                                                                          102
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               Saudi Committee in Support of the Intifada al Quds
                               Payments via Arab Bank 2000-2002
                              DIRECTLY to Senior HAMAS Terrorists


              HAMAS                 QASSAM BRIGADES               QASSAM BRIGADES                 QASSAM BRIGADES
             FOUNDER                 SENIOR LEADER                 SENIOR LEADER                 SENIOR COMMANDER

          Abd al-Fatah                   Ibrahim
            Dukhan                    al-Muqadama                 Ahmad al-Ja'bari                   Nizar Rayan




           $ 2,655.78                  $ 2,655.78                    $2,655.78                        $ 5,314.65




PX722, PX720, PX721, PX648                                                                                          103
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               Saudi Committee in Support of the Intifada al Quds
                                 Payments via Arab Bank 2000-2002
                             to the wives* of Senior HAMAS Terrorists
                    Jamal Mansur                   Ahmad al-Ja'bari                    Jamal Abu al-Hija




                      $5,316.06                        $2,655.78                            $2,655.78
                      $2,655.78

                                                                                    Ibrahim Abd al-Karim
                  Yousef al-Surakji                 Ayman Halawah                        Bani Awda*




                      $ 2,655.78                       $ 5,311.56                          $ 5,316.06

PX622, PX688, PX708, PX687, PX711, PX635, PX617                                                              104
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                Saudi Committee in Support of the Intifada al Quds

                                            Payment to Nizar Rayan

                                  Saudi Committee Payment Details
Name of Beneficiary:
                                                                                                      Nizar
                                        Nizar Abd al-Qader Rayan
Type of Payment:                       Martyr Payment for his son                                     Rayan
Total Amount:                                     $ 5,314.65
Date of Transfer:                               June 6, 2002
Bank - Branch:                               Arab Bank - Gaza
Cash or Deposit:                                        Cash
Proof of Payment:                              ABPLC030565
                                          HAMAS Involvement
Role in Hamas:           •   Leading Terrorist Operative
                         •   HAMAS Spiritual Leader
                         •   Son was Qassam Brigades Operative
Current Status:              Killed by Israel in 2009




PX648                                                                                                          105
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                Saudi Committee in Support of the Intifada al Quds

                                          Payment to Ahmad al-Ja'bari

                                    Saudi Committee Payment Details
                                                                                                       Ahmad
Name of Beneficiary:           Ahmad Sa'id Khalil               Sabah al-Ja'bari
                                  al-Ja'bari                       (his wife)                         al-Ja'bari
Type of Payment:               1 Prisoner Payment             1 Prisoner Payment
Total Amount:                       $2655.78                        $2655.78
Date of Transfer:                  05/23/2001                      01/06/2001
Bank - Branch:                 Arab Bank - Gaza                Arab Bank - Gaza
Cash or Deposit:                      Cash                             Cash
Proof of Payment:                ABPLC019308                     ABPLC011787
                                            HAMAS Involvement
Role in Organization:      •   Senior Leader of the al-Qassam Brigades
                           •   First Director of the Al-Nur Prisoners Society
Terrorist Attack/Role:         Supervised HAMAS terror operations from Gaza
Current Status:                Killed by Israel in 2012

PX721, PX708                                                                                                       106
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                Saudi Committee in Support of the Intifada al Quds

                                   Payment to Jamal Abu al-Hija’s Wife

                                    Saudi Committee Payment Details
                                                                                                     Jamal Abu
Name of Beneficiary:           Asmaa Muhammad Suliman Sabaina (his wife)
Type of Payment:                               Prisoner Payment                                        al-Hija
Total Amount:                                       $2,655.78
Date of Transfer:                             December 19, 2000
Bank - Branch:                                 Arab Bank - Jenin
Cash or Deposit:                                       Cash
Proof of Payment:                                ABPLC010758
                                            HAMAS Involvement
Role in Organization:      •   Head of HAMAS in northern Samaria
                           •   Senior Employee of the Jenin Zakat Committee
Terrorist Attack/Role:     •   Sbarro Bombing, Jerusalem – August 9, 2001
                           •   Bus No. 16 Haifa bombing - December 2, 2001
Current Status:                In prison in Israel since 2002 (sentenced to 9 life
                               sentences + 20 years imprisonment)
PX687                                                                                                              107
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                Saudi Committee in Support of the Intifada al Quds

                    Payment to Ibrahim Abd al-Karim Bani Awda’s Family

                                   Saudi Committee Payment Details
                                                                                               Ibrahim Abd
Name of Beneficiary:                        Family of the Martyr
                                      Ibrahim Abd al-Karim Bani Awda
                                                                                           al-Karim Bani Awda
Type of Payment:                               Martyr Payment
Total Amount:                                       $5,316.06
Date of Transfer:                                   01/03/2001
Bank - Branch:                               Arab Bank - Nablus
Cash or Deposit:                                      Cash
Proof of Payment:                              ABPLC011605
                                           HAMAS Involvement
Role in Organization:          Commander of the (HAMAS) Martyrs for the
                               Prisoners Cell
Terrorist Attack/Role:         Responsible for car bombing in Hadera in 2000
Current Status:                Killed by Israel on November 20, 2000

PX617                                                                                                            108
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                Saudi Committee in Support of the Intifada al Quds

                                     Payment to Ayman Halawah’s Wife

                                    Saudi Committee Payment Details
                                                                                                      Ayman
Name of Beneficiary:                Razan Husni Hilmi Halawa (his wife)
Type of Payment:                                Martyr Payment                                       Halawah
Total Amount:                                       $5311.56
Date of Transfer:                                   02/17/2002
Bank - Branch:                                Arab Bank - Nablus
Cash or Deposit:                                       Cash
Proof of Payment:                                ABPLC026275
                                            Terrorist Information
Role in Organization       •   HAMAS Bomb-maker
                           •   “The Third Engineer”
Terrorist Attack/Role:     •   Neve Yamin Bombing – March 28, 2001
                           •   Sbarro Bombing – August 9, 2001
Current Status:                Killed (by Israel) in October, 2001


PX635                                                                                                            109
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                                                             #: 2323



                Saudi Committee in Support of the Intifada al Quds

                                   Payment to Yousef al-Surakji’s Wife

                                   Saudi Committee Payment Details
                                                                                                    Yousef
Name of Beneficiary:         Maysar Muhammad Hamed al-Surakji (his wife)
Type of Payment:                             Prisoner Payment                                      al-Surakji
Total Amount:                                       $2,655.78
Date of Transfer:                                01/08/2001
Bank - Branch:                              Arab Bank - Nablus
Cash or Deposit:                                      Cash
Proof of Payment:                              ABPLC012415
                                           HAMAS Involvement
Role in Organization:         Head of the al-Qassam Brigades in West Bank
Terrorist Attack/Role:        Commander in charge of most terrorist attacks initiated
                              from the West Bank in 2000-2001
Current Status:               Killed by Israel in January 2002



PX711                                                                                                           110
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                Saudi Committee in Support of the Intifada al Quds

                                     Payment to Ibrahim al-Muqadama

                                   Saudi Committee Payment Details
                                                                                              Ibrahim
Name of Beneficiary:              Ibrahim Ahmad Khaled al-Muqadama
Type of Payment:                              Prisoner Payment                             al-Muqadama
Total Amount:                                       $2,655.78
Date of Transfer:                                 05/23/2001
Bank - Branch:                         Arab Bank - Al-Rimal Branch
Cash or Deposit:                                         Cash
Proof of Payment:                               ABPLC019283
                                           HAMAS Involvement
Role in Organization:         Co-Founder of the al-Qassam Brigades
Terrorist Attack/Role:        Helped murder alleged collaborators
Current Status:               Killed by Israel in 2003



PX720                                                                                                       111
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                Saudi Committee in Support of the Intifada al Quds

                                      Payment to Abd al-Fatah Dukhan

                                   Saudi Committee Payment Details
                                                                                            Abd al-Fatah
Name of Beneficiary:                      Abd al-Fatah Hasan Dukhan
                                           (received for his son Bilal)                       Dukhan
Type of Payment:                               Prisoner Payment
Total Amount:                                       $2,655.78
Date of Transfer:                                 08/29/2001
Bank - Branch:                                 Arab Bank - Gaza
Cash or Deposit:                                      Cash
Proof of Payment:                               ABPLC021731
                                             HAMAS Involvement
Role in Organization:      •   HAMAS Co-Founder
                           •   Member of the "Change & Reform" HAMAS party
Terrorist Attack/Role:         HAMAS Commander of Central Gaza Strip
Current Status:                At large


PX722                                                                                                       112
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                Saudi Committee in Support of the Intifada al Quds

                       Payments via Arab Bank to Jamal Mansur’s Wife

                           Saudi Committee Payment                   Related
                                   Details                          Payments            Jamal and Muna
                                                                                           Mansur
Name of Beneficiary:       Muna Salim           Muna Salim       Muna Salim Saleh
                          Saleh Mansur         Saleh Mansur          Mansur
Type of Payment:                                                  4 Wire Transfers
                             Prisoner          Martyr Payment           from
                             Payment                              Yousef al-Hayek
Total Amount:               $2,655.78             $5,316.06         $85,000.00
Date of Transfer:           12/19/2000            10/22/2001     12/2000 - 09/2001
Bank - Branch:              Arab Bank -           Arab Bank -       Arab Bank -
                              Nablus                Nablus            Nablus
Proof of Payment:         ABPLC010764          ABPLC023919         ABPLC211930
                                                                   ABPLC212053
                                                                   ABPLC212095
                                                                   ABPLC212100
Status:                     Jamal Mansur was killed by Israel in July, 2001

PX622, PX688, PX2019, PX2121, PX2154, PX2158                                                                113
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                  Hamed Faleh Mustafa Abu Hijla


• Studied engineering at Al-Najah University - Nablus
• Active in the Al-Kutla Al-Islamiya (Islamic Student Organization –
  part of the HAMAS Da’wa)
• Committed a suicide bombing on January 1, 2001 in Netanya, Israel




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        Saudi Committee in Support of the Intifada al Quds
                          Martyr Payment Lists
                   Reviewed and Processed by Arab Bank




PX327                                                                                         119
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                         Hamed Faleh Mustafa Abu Hijla
         Postcard Seized from the Offices of the Nablus Zakat Committee




PX1115                                                                                         120
